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     HEATHER E. WILLIAMS, #122664
1    Federal Defender
     NOA E. OREN, #297100
2    Assistant Federal Defender
     801 I Street, 3rd Floor
3    Sacramento, California 95814
     Telephone: (916) 498-5700
4
5    Attorney for Defendant
     SHELLBY MOORE
6
7                              IN THE UNITED STATES DISTRICT COURT
8                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9
                                                     )   Case No. 2:16-cr-147-MCE
10   UNITED STATES OF AMERICA,                       )
                                                     )   DEFENDANT’S WAIVER OF
11                          Plaintiff,               )   APPEARANCE; ORDER
                                                     )
12         v.                                        )
                                                     )   DATE:         August 5, 2016
13   SHELLBY MOORE,                                  )   TIME:         2:00 p.m.
                                                     )   JUDGE:        Hon. Allison Claire
14         Defendant.                                )
15
16             Pursuant to Rule 10(b) of the Federal Rules of Criminal Procedure, the defendant,
17   Shellby Moore, hereby waives the right to be present in person in open court for arraignment.
18   Ms. Moore has been charged by indictment. Ms. Moore affirms that she has received a copy of
19   the indictment and that she wishes to plead not guilty and request a jury trial. Ms. Moore
20   acknowledges that she has been informed of the charges, the penalties provided by law, and of
21   her rights in this matter. She seeks to waive her appearance in this matter because she is
22   participating in WestCare in Fresno, CA under pretrial services supervision. She was present for
23   her initial arraignment on the complaint, which addresses the same crime. She was informed by
24   the Court of her rights and the charges at that appearance. She asks the Court to accept this
25   waiver.
26             The defendant further acknowledges being informed of her rights under Title 18 U.S.C.
27   §§ 3161-3174 (Speedy Trial Act), and authorizes her attorney to set times and dates under that

28   Act without the defendant’s personal appearance.
      Waiver of Personal Appearance                -1-          U.S. v. Lichnock-Gembe, et al. 16-cr-147-MCE
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1           The original signed copy of this waiver is being preserved by the attorney undersigned.
2    Dated: August 4, 2016
                                                           __/s/ Shellby Moore__________
3                                                          SHELLBY MOORE
                                                           Original retained by attorney
4
5
6           I agree with and consent to my client's waiver of appearance. I have provided her with a

7    copy of the indictment and discussed her rights, the charges, and the statutory penalties. I concur
8    with her decision to waive her appearance and be arraigned without her personal appearance.
9
     Dated: August 4, 2016
10
                                                           Respectfully submitted,
11
                                                           HEATHER E. WILLIAMS
12                                                         Federal Defender

13
                                                           _/s/ Noa E. Oren______________
14                                                         NOA E. OREN
                                                           Assistant Federal Defender
15
                                                           Attorney for Defendant
16                                                         SHELLBY MOORE

17                                                ORDER

18
19          Pursuant to Federal Rule of Criminal Procedure 10(b), the Court accepts Shellby Moore’s

20   waiver of appearance at arraignment.

21   Dated: August 4, 2016

22
23
24
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      Waiver of Personal Appearance                  -2-        U.S. v. Lichnock-Gembe, et al. 16-cr-147-MCE
